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                Exhibit A
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8
     Attorneys for LOUIS FLOYD
9    and the alleged Class
10
11                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13
     LOUIS FLOYD, individually and on behalf
14   of all others similarly situated,                     Case No. 5:20-cv-01520-LHK

15                                  Plaintiff,             AFFIDAVIT OF TAYLOR T. SMITH
                                                           IN SUPPORT OF MOTION FOR
16   v.                                                    ORDER REGARDING ALTERNATE
                                                           SERVICE ON DEFENDANTS
17
     SARATOGA DIAGNOSTICS, INC., a
18   California corporation, and THOMAS                    Date: November 5, 2020
     PALLONE, an individual                                Time: 1:30 p.m.
19                                                         Judge: Hon. Lucy H. Koh
                                     Defendant.            Courtroom: 8
20                                                         Complaint Filed: March 1, 2020
21
22   I, Taylor T. Smith declare as follows:

23          1.      I am an associate attorney with the law firm Woodrow & Peluso, LLC and one of

24   the attorneys for Plaintiff Louis Floyd (“Plaintiff” or “Floyd”). I am over the age of 18 and, if

25   necessary, can competently testify if required to do so.

26          2.      On March 1, 2020, Plaintiff filed the instant action against Defendants Saratoga

27   Diagnostics, Inc. (“Saratoga”) and Thomas Pallone (“Pallone”) (collectively “Defendants”)

28
     AFFIDAVIT OF TAYLOR T. SMITH                      1
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     ALTERNATIVE SERVICE
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1    alleging widespread violation of the Telephone Consumer Protection Act, as amended by the Junk

2    Fax Prevention Act of 2005, 47 U.S.C. § 227, et seq. (“JFPA” or Act”).

3           3.      On March 6, 2020, Plaintiff’s counsel sent the Complaint and the exhibit attached

4    thereto, Summons, and Order Setting Initial Case Management Conference and ADR Deadlines

5    to a process server in the State of California for service.

6           4.      Plaintiff, via process server, attempted to serve both Defendants on March 11,

7    2020, March 12, 2020, March 15, 2020, and March 17, 2020. (See Dkt. 15-2; Dkt. 15-3.) On

8    March 17, 2020, the process server spoke with the co-occupant of the resident who stated that

9    Pallone was not available (Id.) The server served a copy of the Complaint, Summons, and other

10   initiating documents on the co-occupant of the home, who refused to provide his name. (Id.)

11   Thereafter, the server mailed a copy of the same documents to Pallone. (Id.)

12          5.      Plaintiff subsequently commenced five additional attempts to serve Defendants—

13   including April 24, 2020, April 27, 2020, April 28, 2020, at 5:00 p.m., April 28, 2020, at 7:20

14   p.m., and April 29, 2020—at the Defendants’ address. (See Dkt. 15-2; Dkt. 15-3.) On each of the

15   attempts, Pallone was either not home or refused to answer the door. (Id.)

16          6.      Based on his inability to serve the Defendants, Plaintiff filed a Motion for

17   Alternative Service Upon Saratoga and Pallone. (Dkt. 15.)

18          7.      On June 5, 2020, the Court issued an Order granting in part and denying in party

19   without prejudice Plaintiff’s Motion for Alternative Service. (Dkt. 20.) The Court permitted

20   Plaintiff to serve Defendant Pallone via certified mail. (Id.)

21          8.      On June 8, 2020, Plaintiff mailed, via first class mail, a copy of the Complaint,

22   including the exhibit attached thereto, Summons, and other initiating documents to Saratoga.

23   Included in the mailing were two copies of the notice required by section Cal. Code Civ. Proc.

24   415.30(b) and a postage prepaid return envelope.

25          9.      To date, Plaintiff’s counsel has not received any written acknowledgement from

26   Saratoga. And more than 20 days have passed since the mailing of the documents. Further,

27   Saratoga has not reached out to Plaintiff’s counsel in any fashion.

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     AFFIDAVIT OF TAYLOR T. SMITH                       2
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1           10.     Also, on June 8, 2020, Plaintiff mailed, via certified mail, a copy of the Complaint,

2    including the exhibit attached thereto, Summons, and other initiating documents to Defendant

3    Pallone.

4           11.     On or around June 15, 2020, Pallone refused to accept the certified mailing.

5           12.     Thereafter, Plaintiff’s counsel received the envelope that Pallone refused to accept.

6           13.     On July 3, 2020, Plaintiff’s counsel then undertook to again mail a copy of the

7    Complaint, including the exhibit attached thereto, Summons, Order Setting Initial Case

8    Management Conference, Order Reassigning Case, and Order Granting In Part And Denying In

9    Part Without Prejudice Plaintiff’s Motion for Alternative Service to Pallone via first class U.S.

10   Mail. (See Dkt. 22.)

11          I declare under penalty of perjury under the laws of the United States of America that the

12   foregoing is true and correct. Executed on July 10, 2020, in Denver, Colorado.

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14                                                 By: /s/ Taylor T. Smith
                                                          Taylor T. Smith
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     AFFIDAVIT OF TAYLOR T. SMITH                     3
     ISO RENEWED MOTION FOR
     ALTERNATIVE SERVICE
